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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   JOHN D. LEE, JR., as Special Administrator           )
   of the Estate of CALEB LEE, deceased                 )
                                                        )
          Plaintiff,                                    )
                                                        )       Case No. 19-CV-318-GKF-JFJ
   v.                                                   )
                                                        )
   TURN KEY HEALTH CLINICS, LLC,                        )
   WILLIAM COOPER, D.O.,                                )
   JAMES CONSTANZER, APRN,                              )
   HOLLY MARTIN, APRN,                                  )
   VIC REGALADO, in his official capacity,              )
                                                        )
          Defendants.                                   )

                        STIPULATION OF DISMISSAL WITH PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

   parties, appearing through their counsel, hereby stipulate to the dismissal with prejudice of the

   above-styled action, with each party to bear its/their own attorney fees and costs.

          DATED this 1st day of June, 2022.

    /s/ Jo Lynn Jeter________________                  /s/Daniel E. Smolen
    Joel L. Wohlgemuth, OBA #9811                      Daniel E. Smolen, OBA# 19943
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